

ORDER

PER CURIAM:
AND NOW, this 13th day of November, 1996, respondent’s motion for an extension of time is denied. A Rule having been entered by this Court on September 26, 1996, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Sandra Couch Collins to show cause why she should not be placed on temporary suspension and no response thereto having been filed, it is hereby
ORDERED that the Rule is made absolute; Sandra Couch Collins is placed on tern-*1384porary suspension and she shall comply with all the provisions of Rule 217, Pa.R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
CAPPY and NIGRO, JJ., dissent and would grant respondent’s motion for an extension of time.
